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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------x
ADVANCED ANALYTICS, INC.,

                  Plaintiff,                 04 C      3531 (     ) (HBP)

     -aga inst-                              OPINION
                                             AND ORDER
CITIGROUP GLOBAL MARKETS, INC.,
et al.,

                  Defendants.

               ----------------------x

            PITMAN, United States Magistrate Judge:


            In an Opinion and Order dated March 26, 2014        (Docket

Item 235)   ("3/26/14 Order"), I granted defendants' application to

s   ke the Fourth Declaration of Dr. Jianqing Fan ("Fourth Fan

Decl."), offered by plaintiff in opposition to           fendants' motion

for summary judgment.     My ruling did, however, permit p       intiff

to use paragraphs 257-73 of the Fourth Fan Decl. to oppose

defendants' Rule 702/Daubert motion or in support of a sanctions

motion contemplated by plaintiff.      On May 7, 2014, I issued an

Opinion and Order denying a motion for reconsideration or clari­

fication of my 3/26/14 Order.

            Because the memorandum of law originally submitted by

plaintiff in opposition to defendants' summary judgment motion

cited the Fourth Fan Decl., my 3/26/14 Order gave plaintiff leave
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to submit an amended memorandum of law omitting references to the

Fourth Fan Decl. and substituting citations to other material in

the record.   This permission to file an amended memorandum of law

was granted in response to the following request from pI          ntiff:

"In the event that the Court were to determine to grant the

Motion to Strike, in whole or in part, Plaintiff should be

accorded leave to revise its oppos      ion to Defendants' motion for

summary judgment and Defendants' Exclusion Motion to the extent

of supplying citations to the record (but not excluded opinions)

contained in the Fan Fourth Declaration, and the Court should not

strike the exhibits as to the Fan Fourth Declaration" (Plain­

tiff's Memorandum of Law in Opposition to Defendants' Motion to

Strike the Fourth Fan Declaration of Jianqing Fan, dated July 3,

2013 at 24-25 (emphasis added)).

          On May 28, 2014, plaintiff submitted its revised

summary judgment papers, and, as defendants note in a           tter

dated June 2, 2014, those papers copy substantial portions of the

stricken Fourth Fan Decl.     Defendants argue that plaintiff should

be directed to submit a second set of revised opposition papers

omitting material copied from the Fourth Fan Decl. or, in the

alternative, that plaintiff's original opposition papers be

deemed the operative papers, albe       without consideration of any

references to the Fourth Fan Decl.

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             I   have reviewed the two samples submitted by defen­

dants, and, it appears that the issue is more complicated than it

seems.

             Like many expert reports, the Fourth Fan Decl. con­

tains:   (I) objective descriptions of other mater           in the

record and (2) expert opinion purporting to explain what that

material means.      To the extent the material      plain    ff's most

recent submissions that is copied from the Fourth Fan Decl. falls

within the       rst category, it is not objectionable;l       is only

the expert opinion contained in the Fourth Fan Decl. that is

objectionable.

             Because separating the factual mate     al from the

opinion material is a time-consuming undertaking,            makes sense

for counsel to attempt, in the first instance, to resolve or

narrow the dispute without my intervention.        Counsel for plain­

tiff and defendants are directed to meet in person in an effort

to identify the portions of the mater         in plaintiff's revised

summary judgment submissions that are copied from the Fourth Fan



     IFor example, the material cited in Exhibit A to defendants'
June 2, 2014 letter starts by describing and then quoting a
segment of defendants' computer code, apparently copied from a
document produced by defendants in discovery. No one could
seriously argue that my Order striking the Fourth Fan Decl.
operated to strike all portions of the record contained in the
Fourth Fan Decl. and somehow prohibited plaintiff from quoting
documents produced by defendants.

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Decl. and that are merely descriptions of other material in the

record and which portions of such material are statements of Dr.

Fan's expert opinion.     In order to minimize the likelihood that I

will have to refer this matter to a special master, I suggest

that counsel use their best efforts to eliminate or narrow the

dispute.

            Counsel are also directed to submit a joint progress

report to my chambers no later than June 23, 2014.

            The deadline for the submission of defendants' papers

in further support of their motion for summary judgment is

adjourned sine die.

Dated:     New York, New York
           June 5, 2014

                                        SO ORDERED




                                        United States Magistrate Judge
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